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(Official Form 1) (12/03) .

FORM B1

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY, CAMDEN DIVISIONAL OFFICE 2
Name of Debtor (If Individual, enter Last, First, Middle): Name of Joint Debtor (Spouse) (Last, First, Middle):
THCR/LP CORPORATION,
a New Jersey corporation

All Other Names used by the Debtor in the last 6 years All Other Names used by the Joint Debtor in the last 6 years

(include married, maiden, and trade names): (include married, maiden, and trade names):

F/K/A TM/GP Corporation

Soc. Sec./Tax |.D. No. (If more than one, state all): Soc. Sec./Tax I1.D. No. (If more than one, state all):

XX-XXXXXXX

Street Address of Debtor (No. & Street, City, State, & Zip Code): Street Address of Joint Debtor (No. & Street, City, State, & Zip Code):

1000 Boardwalk at Virginia Avenue
Atlantic City, New Jersey 08401

County of Residence or of the County of Residence or of the

Principal Place of Business: Principal Piace of Business:

Atlantic County

Mailing Address of Debtor (if different from street address): Mailing Address of Joint Debtor (if different from Street Address):
same

Location of Principal Assets of Business Debtor
(if different from street address above):

same

M Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this district.

Chapter or Section of Bankruptcy Code Under Which

C3

Type of Debtor (Check all boxes that apply) the Petition is Filed (Check one box)
( Individual(s) g Railroad
&@ Corporation Oo Stockbroker (} Chapter 7 = Chapter 11 [1 Chapter 13
©). Partnership o Commodity Broker {] Chapter 9 C1 = Chapter 12
|). Other Sec. 304 - Case Ancillary to foreign proceeding
Nature of Debts (Check one box) Filing Fee (Check one box)
|} Consumer/Non-Business w Business Ms Full Filing Fee attached

Chapter 11 Small Business (Check all boxes that apply)
Q Filing Fee to be paid in installments (Applicable to individuals

Debtor is a small business as defined In 11 U.S.C. § 101 only) Must attach signed application for the Court’s consideration
certifying that the debtor is unable to pay fee except in installments.
r Debtor is and elects to be considered a small business under Rule 1006(b). See Official Form No. 3

11 U.S.C. § 1121(e) (Optional)
Statistical/Administrative Information (Estimates only)

MM Debtor estimates that funds will be available for distribution to unsecured creditors.

[Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

1-15 16-49 50-99 100-199 200-999 1000-Over
wi g O g g a THIS SPACE FOR

Estimated Assets COURT USE ONLY

$0 - $50,000-  $100,001- $500,001- $1,000,001-. $10,000,001-  $50,000,001- More than
50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million

Ml 0 OG O oO G CJ
Estimated Debts

$0- $50,001- $100,001- $500,001- $1,000,001- $10,000,001- — $50,000,001- More than
50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million

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(Official Form 1) (12/03) FORM B1, Page 2
it] Name of Debtor(s):
Voluntary Petition THCR/LP CORPORATION, a New Jersey corporation,

(This page must be completed and filed i in een case. se.)

oe of Debtor:

F/K/A TM/GP corporation

Date Filed:

“Case Number:

District:

Signature(s) of Debtor(s) (Individual/Joint)
| declare under penalty of perjury that the information provided in this
petition is true and correct. [If petitioner is an individual whose debts are
primarily consumer debts and has chosen to file under chapter 7] | am
aware that | may proceed under chapter 7, 11, 12 or 13 of title 11, United
States Code, understand the relief available under each such chapter,
and choose to proceed under chapter 7.
| request relief in accordance with the chapter of title 11, United States
Code, specified in this petition.

Signature of Debtor

Signature of Joint Debtor

Telephone and Fax Number (If not represented by attorney)

Date

_ Signatures

Relationship:

Jud e:

Exhibit A

(To be completed if debtor is required to file periodic reports (e.g., forms
10K and 10Q) with the Securities and Exchange Commission pursuant to
Section 13 or 15(d) of the Securities Exchange Act of 1934 and is
requesting relief under chapter 11)

Exhibit A is attached and made a part of this petition.

Exhibit B
(To be completed if debtor is an individual whose debts are primarily
consumer debts) |, the attorney for the petitioner named in the foregoing
petition, declare that | have informed the petitioner that [he or she] may
proceed under chapter 7, 11, 12, or 13 of title 11, United States Code,
and have explained the relief available under each such chapter.

Signature of Attorney for Debtor(s) Date

Signature of Attorney for Debtors
X /s/_Charles A. Stanziale, Jr.

Charles A. Stanziale, Jr.

Date: November 21,2004 (CS 1227)

SCHWARTZ, TOBIA, STANZIALE, SEDITA & CAMPISANO
Charles A. Stanziale, Jr. (CS 1227); Jeffrey T. Testa (JT 1127)
William N. Stahl (WS 0397)

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LATHAM & WATKINS LLP

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Telephone: (213) 485-1234; Fax: (213) 891-8763
Email: robert.klyman@lw.com

Mark A. Broude; John W. Weiss (JW 5194)

885 Third Avenue, Suite 1000

New York, NY 10022-4802

Telephone: (212) 906-1200; Fax: (212) 751-4864
Email: mark.broude@Iw.com; john.weiss@|w.com

Exhibit C
Does the debtor own or have possession of any property that poses or is
alleged to pose a threat of imminent and identifiable harm to public
health or safety?
M1  +Yes, and Exhibit C is attached and made a part of this petition.

M No

Signature of Debtor (Corporation/Partnership)
| declare under penalty of perjury that the information provided in this
petition is true and correct, and that | have been authorized to file this
petition on behalf of the debtor.
The debtor requests relief in accordance with the chapter of title 11,
United States Code, specified in this petition.

X _\s\John P. Burke
Signature of Authorized Individual

John P, Burke

Printed Name of Authorized Individual
Assistant Treasurer

Title of Authorized Individual
November 21, 2004

Date

Signature of Non-Attorney Petition Preparer
| certify that | am a bankruptcy petition preparer as defined in 11 U.S.C. §
110; that | prepared this document for compensation, and that | have
provided the debtor with a copy of this document.

N/A
Printed or Typed Name of Bankruptcy Petition Preparer

Social Security Number

Address

Names and Social Security Numbers of all other individuals who
prepared or assisted in preparing this document:

lf more than one person prepared this document, attach additional
sheets conforming to the appropriate official form for each person.

Signature of Bankruptcy Petition Preparer

Date

A bankruptcy petition preparer’s failure to comply with the provisions of
title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.

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UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEW JERSEY
CAMDEN DIVISION
In re
Chapter 11
THCR/LP CORPORATION,
a New Jersey corporation, Case No.
f/k/a/ TM/GP Corporation,
Debtor.

EXHIBIT “A” TO VOLUNTARY PETITION

1. Debtor’s parent’s securities are registered under Section 12 of the Securities Exchange Act of 1934,
and its SEC file number is 1-13794.

2. The following unaudited financial data is the latest available information and refers to the
Debtor’s condition on October 31, 2004 on a book value basis.

a. Total assets: $2.00
b. Total debts including debts listed in 2.c. below: 0
c. Debt securities held by more than 500 holders: N/A
d. Number of shares of preferred stock: N/A
€. Number of shares of common stock 100

outstanding as of October 31, 2004:

3. Brief description of Debtor’s business: Debtor, together with its related debtor entities, owns and
operates hotels and casino resorts.

4, List the names of any person who directly or indirectly owns, controls, or holds, with power to

vote, 5% or more of the voting securities of the Debtor: THCR Holding Corp.; see attached
organization chart, which lists the ownership structure of the Debtor and its affiliates.

EXHIBIT “A” TO THE VOLUNTARY PETITION

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Organizational Structure

The following simplified chart depicts the Company and its principal subsidiaries:

Trump Hotels &
Resorts, Inc.

| Donald J. Trump

THCR Holding
Corp.

| | |
Trump Casinos, Trump Casinos H,
Inc. Inc.

THCR/LP
Corporation

63.4% 36.6%

Trump Hotels & Casino
Resorts Holdings, L.P.

Issuers/Guarantors [ssuers/Guarantors
$1.3 billion $490 million
TAC Notes | Mortgage Notes

PTT Tee eee eS TT Te I
Trump Atlantic I |
I City Holding, I i Trump Casino $425 million First i
| Inc | Holdings, LLC Priority Mortgage Notes
1% 9% | | $65 million Second |
| l Priority Mortgage Notes I
| Trump Atlantic ! I |
w... $1.2 billion $75 million $25 million City Associates I | |

TAC | TAC II TAC I i i
‘ Notes Notes Notes i! Trump Casino
1 1 I Funding, Inc. |
] | I I i
I 1! |
i |_|
|| Trump Atlantic Trump Atlantic Trump Atlantic Trump Atlantic I I Trump Trump Trump Indiana] | Trump Indiana, THCR i
I City Funding City Funding H, City Funding I, City 1 | Marina, Inc. Indiana, Inc. Casino Realty, LLC Management | |
| Inc. Inc. Inc. Corporation \! Management, Holdings, I
I 1! LLC’ LLC |
I 1! i
I i I 1% 99% |
I 1! |
I Trump Plaza Trump Taj Mahal | | | | Trump Marina Trump THCR I
! Associates Associates I I Associates, Indiana Management
I LP. Services, LLC
i I
| senate >
i
I Trump
I arina Hote !
! Casino

' Trump Indiana Casino Management LLC is not a subsidiary guarantor of the First and Second Priority Mortgage Notes
of Trump Casino Holdings, LLC and Trump Casino Funding, Inc.

EXHIBIT “A” TO THE VOLUNTARY PETITION

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THCR/LP Corporation

ACTION BY UNANIMOUS WRITTEN CONSENT OF THE
BOARD OF DIRECTORS

November 18, 2004

Pursuant to Section 14A:6-7.1(5) of the
New Jersey Business Corporation Act

The undersigned, being the sole member of the Board of Directors of THCR/LP
Corporation, a New Jersey corporation (the “Company”), acting by unanimous written consent
without a meeting pursuant to Section 14A:6-7.1(5) of the New Jersey Business Corporation Act,
hereby consents to the adoption of the resolutions attached hereto with the same force and effect
as if they had been unanimously adopted at a duly convened meeting of the Board of Directors of
the Company.

Filing of Bankruptcy Petition; Approval of Plan; Debtor-in-Possession Credit Facility

RESOLVED, that the Company’s Board of Directors has determined, based upon
current events and after consultation with counsel, that it is desirable and in the best interests of
the Company, its creditors, stockholders, bondholders and other interested parties, that a petition
be filed by the Company under the provisions of 11 U.S.C. (the “Bankruptcy Code”);

FURTHER RESOLVED, that a petition under said chapter 11 shall be filed as
submitted by the President and Treasurer, Secretary and Vice President and Assistant Treasurer
of the Company (collectively, the “Authorized Officers”), or each Authorized Officer acting
singly, and the same is hereby approved and adopted in all respects, and such Authorized Officer
is hereby authorized, directed and empowered, on behalf of and in the name of the Company, to
execute and verify such petition and to cause the same to the filed with the United States
Bankruptcy Court for the District of New Jersey or such other federal court of competent
jurisdiction that such Authorized Officer shall deem necessary, appropriate or desirable (the
“Bankruptcy Court”);

FURTHER RESOLVED, that the plan of reorganization substantially in the form
presented to the Board of Directors (the “Plan”) is hereby approved as the Company’s Plan under
the Bankruptcy Code, and each Authorized Officer is hereby authorized, directed and
empowered, in such Authorized Officer’s discretion, on behalf of and in the name of the
Company and its subsidiaries to authorize the Plan, and to cause the same to be filed, as may be
modified or amended from time to time, in the Bankruptcy Court at such time as such
Authorized Officer shall determine;

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FURTHER RESOLVED, that each Authorized Officer is hereby authorized, directed
and empowered to negotiate, execute and obtain a debtor-in-possession credit facility or cash
collateral agreement (including, in connection therewith, such notes, security agreements and
other agreements or instruments as such Authorized Officer considers appropriate) on such terms
and conditions that such Authorized Officer may consider necessary, appropriate or desirable;
and

FURTHER RESOLVED, that each Authorized Officer is hereby authorized, directed
and empowered to execute, verify and/or file, or cause to be executed, verified and/or filed, all
necessary documents, including, without limitation, all petitions, affidavits, schedules, motions,
pleadings, lists, statements of financial affairs and other papers and to take any and all actions
that such Authorized Officer shall deem necessary, appropriate or desirable in connection with
the proceedings under the Bankruptcy Code.

Appointment of Professionals

RESOLVED, that the law firm of Latham & Watkins LLP is hereby retained as legal
counsel for the Company, in connection with the commencement and maintaining of such
proceedings and any other matters in connection therewith, and each Authorized Officer is
hereby authorized, directed and empowered to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the chapter 11 case, and cause to
be filed an appropriate application for authority to retain the services of Latham & Watkins LLP;

FURTHER RESOLVED, that the law firm of Schwartz, Tobia, Stanziale, Sedita &
Campisano is hereby retained as legal counsel for the Company, in connection with the
commencement and maintaining of such proceedings and any other matters in connection
therewith, and each Authorized Officer is hereby authorized, directed and empowered to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the chapter 11 case, and cause to be filed an appropriate application for authority to
retain the services of Schwartz, Tobia, Stanziale, Sedita & Campisano;

FURTHER RESOLVED, that the firm of Ernst & Young LLP is hereby retained to
provide auditing, accounting, tax and related services to the Company, in connection with the
commencement and maintaining of such proceedings and any other matters in connection
therewith, and each Authorized Officer is hereby authorized, directed and empowered to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the chapter 11 case, and cause to be filed an appropriate application for authority to
retain the services of Emst & Young LLP;

FURTHER RESOLVED, that each Authorized Officer is hereby authorized, directed
and empowered, on behalf of, and in the name of, the Company to retain and employ such
attorneys, investment bankers, accountants, restructuring professionals, experts, advisors and
other professionals to assist in the Company’s chapter 11 case on such terms as are deemed
necessary, appropriate or desirable; and

FURTHER RESOLVED, that the Authorized Officers and any employees, agents,

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attorneys, investment bankers, accountants, advisors and other professionals designated by or
directed by any such Authorized Officers, be, and each hereby is, authorized, directed and
empowered on behalf of, and in the name of, the Company to cause the Company and such of its
affiliates as management deems appropriate to file such other authorized agreements, instruments
and documents as may be necessary, appropriate or desirable in connection with the chapter 11
case and to make such authorized motions and other filings with the Bankruptcy Court, and do
all other things, as may be or become necessary, appropriate or desirable for the successful
confirmation of the Plan.

Approval of Other Actions; General Authorization; Additional Resolutions

RESOLVED, that, consistent with the foregoing resolutions, each Authorized Officer is
hereby authorized, directed and empowered, in such Authorized Officer’s discretion, on behalf
of and in the name of the Company and its subsidiaries, to (i) prepare, execute and deliver or
cause to be prepared, executed and delivered, and where necessary, appropriate or desirable, file
or cause to be filed with the appropriate governmental authorities, all other agreements,
instruments and documents, including but not limited to all certificates, contracts, bonds, receipts
or other papers, (ii) incur and pay or cause to be paid all fees, expenses and taxes, including
without limitation, legal fees and expenses, (iii) engage such persons as such Authorized Officer
shall in his judgment determine to be necessary, appropriate or desirable, and (iv) do any and all
other acts and things as such Authorized Officer deems necessary, appropriate or desirable to
carry out fully the intent and purposes of the foregoing resolutions and each of the transactions
contemplated thereby (and the doing of any such act or thing shall be conclusive evidence that
the same is deemed necessary, appropriate or desirable); and

FURTHER RESOLVED, that any and all actions heretofore or hereafter taken in the
name and on behalf of the Company by any Authorized Officer or any employee, agent, attorney,
investment banker, accountant, advisor or other professional designated by or directed by any
Authorized Officer in connection with or related to the matters set forth in or contemplated by
the foregoing resolutions be, and they hereby are, adopted, confirmed, approved and ratified in
all respects as the act and deed of the Company.

[Signature Page Follows]

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IN WITNESS WHEREOF, the undersigned, constituting the sole member of the
Board of Directors of the Company, has executed this Action by Unanimous Written Consent as
of the date indicated above.

/s/ Donald J. Trump

Donald J. Trump

[THCR/LP Corporation]

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UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEW JERSEY

CAMDEN DIVISION

In re
Case No.
THCR/LP CORPORATION,
a New Jersey corporation, Chapter 11
f/k/a TM/GP Corporation,
Debtor.

LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS

The following is a list of the Debtor’s creditors holding the 20 largest unsecured claims.
This list is prepared in accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11
case. The list does not include (1) those persons who come within the definition of “insider” set
forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of the collateral is such that the
unsecured deficiency places the creditor among the holders of the 20 largest unsecured claims.

LEGEND: (1) Name of Creditor and complete mailing address including zip
code.

(2) Name, telephone number, facsimile number, and complete mailing
address, including zip code, of employee, agent or department of
Creditor familiar with clam who may be contacted.

(3) Nature of claim (trade debt, bank loan, government contract, etc.)

(4) Indicate if claim is contingent, unliquidated, disputed, or subject to
setoff.

(5) Amount of claim (if secured, also state value of security).

The following information is based upon a review of the Debtor’s books and records.
However, no comprehensive legal and/or factual investigations with regard to possible defenses
or counterclaims to the below-listed claims have been completed. Therefore, this listing does not
and should not be deemed to constitute: (1) a waiver of any defense, counterclaim or offset to
the below-listed claims; (2) an acknowledgment of the allowability of any of the below listed
claims; and/or (3) a waiver of any other right or legal position of the Debtor. The claims listed
represent the face amount of such claim.

I, John P. Burke, Assistant Treasurer of the Debtor, declare under penalty of perjury that I
have read the attached List of Creditors Holding 20 Largest Unsecured Claims, and that it is true
and correct to the best of my information and belief.

DATED: November 21, 2004 /s/ John P. Burke
John P. Burke,
Assistant Treasurer

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Name and Address of Creditor Creditor Nature of Claim le Amount of

Contact g/e | Claim

D1 =

ETS | é

ei, | 2

&)2|4

None

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UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)

Charles A. Stanziale, Jr. (CS 1227)

Jeffrey T. Testa (JT 1127)

William N. Stahl (WS 0397)

SCHWARTZ, TOBIA, STANZIALE, SEDITA &
CAMPISANO

Kip’s Castle

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Los Angeles, CA 90071-2007
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Telecopy: (213) 891-8763
Email: robert.klyman@lw.com

Mark A. Broude

John W. Weiss (TW 5194)
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885 Third Avenue, Suite 1000
New York, NY 10022-4802
Telephone: (212) 906-1200
Telecopy: (212) 751-4864
Email: mark. broude@lw.com
john.weiss@lw.com

Proposed Counsel for
Debtors and Debtors in Possession

In re: Chapter 11
THCR/LP CORPORATION, Case No.:
a New Jersey corporation,
f/k/a TM/GP Corporation,
No Hearing Required
Debtor.

LIST OF EQUITY SECURITY HOLDERS

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Submitted herewith, concurrently with the Voluntary Petition for the above-
referenced debtor, is a list of equity security holders of THCR/LP Corporation.

I, John P. Burke, Assistant Treasurer of the Debtor, declare under penalty of
perjury, that I have read the attached List of Equity Security Holders, and that it is true and
correct to the best of my information and belief.

Executed this 21% day of November, 2004, at Atlantic City, New Jersey.

/s/_John P. Burke

John P. Burke,
Assistant Treasurer

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LIST OF EQUITY SECURITY HOLDERS
OWNERSHIP TYPE OF OWNERSHIP NUMBER OF SHARES

THCR Holding Corp. Wholly owned 100%

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UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEW JERSEY
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Telecopy: (212) 751-4864
Email: mark.broude@lw.com
john.weiss@lw.com

Proposed Counsel for
Debtors and Debtors in Possession

In re: Chapter 11
THCR/LP CORPORATION, Case No.:
a New Jersey corporation,
f/k/a TM/GP Corporation,
No Hearing Required
Debtor.

SUBMISSION OF CREDITOR MATRIX

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Submitted herewith, concurrently with the Voluntary Petition for the above-
captioned debtor, is the Creditor Matrix, which complies with the instructions set forth in the
District of New Jersey Local Bankruptcy Rule 1007-2(a), (b), (c), and (d).

I, John P. Burke, Assistant Treasurer of the Debtor, declare under penalty of
perjury that I have read the attached Creditor Matrix, and that it is true and correct to the best of
my information and belief.

Executed this 21 day of November, 2004, at Atlantic City, New Jersey.

/s/_ John P. Burke

John P. Burke,
Assistant Treasurer

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UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)

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Jeffrey T. Testa (JT 1127)

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SCHWARTZ, TOBIA, STANZIALE, SEDITA &
CAMPISANO

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Mark A. Broude

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New York, NY 10022-4802
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Email: mark.broude@lw.com
john.weiss@lw.com

Proposed Counsel for
Debtors and Debtors in Possession

In re: Chapter 11
THCR/LP CORPORATION, a New Jersey corporation, Case No.:
f/k/a/TM/GP Corporation,

Debtor. No Hearing Required

STATEMENT OF RELATED CASES

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Attached hereto is the Statement of Related Cases for all affiliated Debtors herein.

Dated: November 21, 2004

LA\1344504.1

Respectfully submitted,

\s\ Charles A. Stanziale, Jr.
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THCR/LP Corporation

Trump Plaza Associates

Trump Marina Associates, L.P.

Trump Indiana Realty, LLC

Trump Indiana Casino Management, LLC
THCR Management Holdings, LLC
THCR Management Services, LLC
THCR Enterprises, LLC

THCR Enterprises, Inc.

. Trump Internet Casino, LLC
. Trump Hotels & Casino Resorts Development Company, LLC

Trump Atlantic City Associates

. Trump Casino Holdings, LLC

Trump Casino Funding, Inc.

. Trump Atlantic City Funding, Inc.
. Trump Marina, Inc.

Trump Hotels & Casino Resorts Holdings, L.P.
Trump Atlantic City Holding, Inc.
Trump Hotels & Casino Resorts, Inc.

. THCR Holding Corp.

. Trump Hotels & Casino Resorts Funding, Inc.
. Trump Plaza Funding, Inc.

. Trump Atlantic City Funding II, Inc.

Trump Atlantic City Funding III, Inc

. Trump Atlantic City Corporation
. Trump Taj Mahal Associates

. Trump Indiana, Inc.

. THCR Ventures, Inc.

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